Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 1 of 10 PAGEID #: 2564




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 JOHN HENRICKS,                                   :
                                                  :          Case No. 2:08-CV-580
                Plaintiff,                        :
                                                  :          JUDGE ALGENON L. MARBLEY
        v.                                        :
                                                  :          Magistrate Judge Jolson
 PICKAWAY CORRECTIONAL                            :
 INSTITUTION, et al.,                             :
                                                  :
                Defendants.                       :

                                      OPINION & ORDER

        This matter is before the Court on several motions in limine. Plaintiff has filed motions

 in limine to: (1) prevent Defendants from offering testimony from various physicians; (2) prevent

 Defendants from offering testimony related to administrative exhaustion; (3) prevent Defendant

 from presenting evidence related to Plaintiff’s post-release medical treatment; and (4) prevent

 Defendants from offering evidence or argument regarding the crime for which Plaintiff was

 incarcerated. (Doc. 273.) Defendants have filed motions in limine to: (1) prohibit Plaintiff from

 failing to prove all the elements of his 42 U.S.C. § 1983 action (Doc. 276-4); (2) prohibit

 Plaintiff from offering non-expert medical opinions (Doc. 276-3); and (3) prohibit Plaintiff from

 equating his deliberate indifference claim to that of medical malpractice. (Doc. 276-5.)

        For the reasons that follow, Plaintiff’s motions in limine are GRANTED in part,

 DENIED in part, and HELD IN ABEYANCE in part. Defendants’ motions in limine are

 DENIED.

                                       I.      BACKGROUND

        The facts of this case were summarized in the Sixth Circuit order denying Defendants’

 interlocutory appeal:

                                                  1
Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 2 of 10 PAGEID #: 2565




        Henricks began experiencing the symptoms of acute appendicitis on August 19, 2006.
        The following day, upon the recommendation of Dr. Gonzalez, the medical director at
        Henricks’s prison, Henricks was sent to the Ohio State University Medical Center. At the
        emergency room, Officer Maynard, who had accompanied Henricks, refused to remove
        Henricks’s handcuffs and other restraints in spite of a physician’s request to do so. This
        caused a delay of approximately forty-five minutes while Officer Maynard and the
        physician argued. Eventually, Officer Maynard uncuffed Henricks and Henricks was
        admitted and underwent emergency surgery. The surgery—which Henricks alleges was
        made more extensive by Officer Maynard’s delay in removing the restraints—caused
        nerve damage to Henricks’s right leg.

        Henricks’s dispute with Dr. Gonzalez arises from Dr. Gonzalez’s consistent refusal to
        prescribe a medication called Neurontin for the pain caused by that nerve damage, in
        spite of the view of several other doctors, including specialists, that Neurontin was
        necessary to treat Henricks’s pain. Henricks first received a prescription for Neurontin on
        November 1, 2006. He requested that his dosage be increased on November 3, and on
        November 8 he met with Dr. Gonzalez, who discontinued the prescription on the basis
        that it would not be effective in treating Henricks’s pain. Starting in February 2007,
        neurologists recommended Neurontin for Henricks’s pain on multiple occasions, but Dr.
        Gonzalez never authorized it, even though at least one doctor explicitly noted that
        Neurontin was “wholly appropriate” and that Motrin, the medication that Henricks had
        been on, would not be effective. Henricks thus suffered unreduced pain resulting from his
        nerve damage during much of 2007.

 (Doc. 233 at 2-3.)

        On August 24, 2016, the Court granted Plaintiff’s motion in limine to deem admitted all

 factual allegations in his complaint under Federal Rule of Civil Procedure 8(b)(6) because

 Defendants never filed an answer. (Doc. 290.) At the same time, the Court denied Defendants’

 motion in limine “to prohibit the plaintiff from refusing to adhere to 42 U.S.C. § 1997e(g).” (Id.)

 Because the facts have been deemed admitted, the Court precluded Defendants from offering at

 trial any evidence contradicting the factual allegations of the complaint other than evidence

 relating to damages. The Court will now consider the parties’ remaining motions in limine.

                                 II.     STANDARD OF REVIEW

        Motions in limine allow the Court to rule on the admissibility of evidence in advance of

 trial to expedite proceedings and give the parties advance notice of the evidence they may not



                                                  2
Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 3 of 10 PAGEID #: 2566




 rely upon at trial. Bennett v. Bd. of Educ. of Washington Cnty. Joint Vocational Sch. Dist., C2-

 08-CV-0663, 2011 WL 4753414, at * 1 (S.D. Ohio Oct. 7, 2011) (citing Jonasson v. Lutheran

 Child & Family Servs., 115 F.3d 436, 440 (7th Cir. 1997)). To prevail on a motion in limine, the

 movant must show that the evidence is clearly inadmissible. Id. If the movant fails to meet this

 high standard, a Court should defer evidentiary rulings so that questions of foundation,

 relevancy, and potential prejudice may be resolved in the context of trial. See Ind. Ins. Co. v.

 Gen. Elec. Co., 326 F. Supp. 2d 844, 846 (N.D. Ohio 2004). Whether or not to grant a motion in

 limine is within the discretion of the trial court. Branham v. Thomas M. Cooley Law Sch., 689

 F.3d 558, 562 (6th Cir. 2012). The Court may reconsider the admissibility of the evidence,

 however, and even change its ruling on a motion in limine, “as the proceedings give context to

 the pretrial objections.” Bennett, 2011 WL 4753414, at * 1 (citing Black v. Columbus Pub. Sch.,

 No. 2:96-CV-326, 2007 WL 2713873, at *2 (S.D. Ohio Sept. 17, 2007)).

                                           III.   ANALYSIS

                                   A. Plaintiff’s Motions in Limine

                                        1. Physician Testimony

        Plaintiff asks the Court to exclude the testimony of four physicians, Drs. Andrew Eddy,

 Gregory Figg, Sorabh Khandelwal, and Nneka Ezeneke, for failure to comply with Federal Rule

 of Civil Procedure 26. (Doc. 273 at 1-3.)

        Pretrial disclosures of witnesses must be made at least 30 days before trial, “[u]nless the

 Court orders otherwise.” Fed. R. Civ. P. 26(a)(3)(B). Expert witnesses, however, must be

 disclosed “at least 90 days before the date set for trial.” Fed. R. Civ. P. 26(a)(2)(D). Further, the

 disclosure of expert witnesses “must be accompanied by a written report—prepared and signed

 by the witness—if the witness is one retained or specially employed to provide expert testimony



                                                   3
Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 4 of 10 PAGEID #: 2567




 in the case or one whose duties as the party’s employee regularly involve giving expert

 testimony.” Rule 26 further sets forth the required content of the expert report. See Fed. R. Civ.

 P. 26(a)(2)(B).

        Defendants contend that even though the four doctors were not disclosed until the July

 15, 2015 motion for leave to pursue a qualified immunity defense, to which Defendants attached

 affidavits from the doctors, the disclosures were timely because the Court had not ordered earlier

 disclosures and they were submitted within 30 days of trial. (Doc. 283 at 3.) It appears that

 Defendants are correct that the Court did not order a certain date for pretrial disclosures. But

 given that the doctors clearly seek to testify as expert witnesses (their affidavits include

 assertions of their opinions “to a reasonable degree of medical certainty”), their disclosures, even

 if timely,1 were not accompanied by expert reports of any kind. Defendants concede that Dr.

 Eddy is an expert witness and, therefore, the Court will exclude his testimony for failure to

 comply with Rule 26(a)(2).2

        Defendants rebut this point by asserting that other than Dr. Eddy, their witnesses are

 clearly offered not as experts but as fact witnesses or rebuttal witnesses. (Doc. 283 at 3.)

 Because Dr. Ezeneke has never examined or treated Plaintiff and derived all of her knowledge of

 the events in question from the medical records, she is not a fact witness. (See Declaration of

 Nneka Ezeneke, M.D., Doc. 238-5 at ¶ 5.) Accordingly, her testimony will be excluded for

 failure to comply with Rule 26(a)(2).

 1
   As stated above, expert witnesses must be disclosed 90 days before trial, and Defendants did
 disclose these witnesses more than 90 days before the trial date, so they will not be excluded on
 this basis.
 2
   Defendants also argue that Dr. Eddy will testify as a fact witness as to the “policies and
 procedures Defendant Dr. Gonzalez was required to work under in following recommendations
 of outside consultants, as well as the ramifications she faced in prescribing medications to
 inmates.” (Doc. 283 at 3.) Finding this irrelevant to damages, the only remaining issue for trial,
 the Court excludes this testimony as well.
                                                   4
Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 5 of 10 PAGEID #: 2568




        Dr. Khandelwal seeks to testify on the delay in Plaintiff’s treatment in the emergency

 room and Officer Maynard’s culpability in this delay, as well as his “opinion to a reasonable

 degree of medical certainty” that the delay in Henricks’s surgical procedure “would have no

 adverse effect on his medical condition, or his recovery.” (Declaration of Sorabh Khandelwal,

 M.D., Doc. 238-4 at ¶¶ 8-11.) The latter statement constitutes an expert opinion, which the

 Court will not allow due to the failure to submit an expert report as required by Rule 26(a)(2).

 The testimony regarding the delay and Officer Maynard’s culpability must also be precluded

 because the Court has deemed admitted the factual allegations in the complaint and it is

 irrelevant to Plaintiff’s damages.

        Dr. Figg examined Plaintiff in 2007 and recommended Neurontin for his pain after the

 surgery. (Declaration of Gregory M. Figg, M.D., Doc. 238-2 at ¶¶ 4, 7.) All of Dr. Figg’s

 statements in his affidavit, submitted with Defendants’ motion for leave to pursue a qualified

 immunity defense, indicate that his testimony relates to Dr. Gonzales’s decision to prescribe

 Motrin rather than Neurontin, the relative effectiveness of different pain medications, and the

 primary physician’s role in determining which medications are appropriate. (Id. at ¶¶ 7-11.)

 Therefore, Figg’s testimony will also be precluded because it bears no relevance to the issue of

 Plaintiff’s damages.

        Plaintiff’s motion to exclude the testimony of Drs. Eddy, Figg, Khandelwal, and Ezeneke

 is GRANTED.

                           2. Evidence Related to Administrative Exhaustion

        Plaintiff asks the Court to exclude the testimony of Eugene Hunyadi, Assistant Chief

 Inspector, whose declaration in support of Defendants’ motion for summary judgment relates

 only to whether Plaintiff exhausted his administrative remedies prior to bringing this lawsuit.



                                                  5
Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 6 of 10 PAGEID #: 2569




 (Doc. 273 at 4.) Because the Court has previously stricken the failure-to-exhaust affirmative

 defense, which was not pleaded, the motion is well taken. Defendants offer no argument to the

 contrary other than to note that exhaustion is a question of fact for the jury. This is true

 generally, but not when the Court has found the defense waived. Defendants will not be

 permitted to introduce evidence at trial related to administrative exhaustion. Plaintiff’s motion to

 exclude Hunyadi’s testimony is GRANTED.

                  3. Evidence Related to Plaintiff’s Post-Release Medical Treatment

        Plaintiff next asks the Court to exclude evidence related to the medical treatment that he

 received following his release from prison on the ground that it is irrelevant. (Doc. 273 at 4.)

 According to Plaintiff, such evidence is irrelevant because his damages caused by Officer

 Maynard ended when the delay in treatment ended and his damages caused by Dr. Gonzales

 ended when he was no longer in Dr. Gonzales’s care. (Id.) Defendants counter that some of the

 evidence could be relevant, although they do not specifically argue how such evidence would

 shed light on Plaintiff’s damages, the only remaining issue for trial. Defendants also argue that

 because they have not yet seen the complete records—which the Magistrate Judge ordered be

 made available to defense counsel during a January 20, 2016 status conference—and are still

 awaiting records from the Fulton County Health Center, the Court should at the very least

 decline to rule on the motion until the contents of the records are known.

        Although the Court is skeptical that the records will be relevant to an assessment of

 damages, given Plaintiff’s position that his damages concluded after the conclusion of treatment,

 the motion should likely be granted. The Court HOLDS IN ABEYANCE the motion in limine

 until the final pretrial conference until Defendants, upon receiving the records, articulate how the

 post-release medical treatment relates to Plaintiff’s damages.



                                                   6
Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 7 of 10 PAGEID #: 2570




                4. Evidence Related to the Crime for Which Plaintiff was Incarcerated

        Finally, Plaintiff asks the Court to preclude evidence of the crime for which he was

 incarcerated during the events at issue because it is irrelevant and prejudicial. Defendants

 correctly point out that they may attack Plaintiff’s character for truthfulness by evidence of a

 criminal conviction under Rule 609 if the crime “was punishable by death or by imprisonment

 for more than one year” or if “establishing the elements of the crime required proving—or the

 witness’s admitting—a dishonest act or false statement.” Fed. R. Evid. 609(a)(1).3 The Court is

 unaware, however, of the crime for which Plaintiff was incarcerated because neither party has so

 informed the Court in the briefing and the Court has not been able to locate this information

 elsewhere in this case’s extensive record. The Court is thus unable to determine whether

 Plaintiff’s criminal conviction was punishable by death or by imprisonment for more than one

 year or, alternatively, whether it involved a dishonest act or false statement. At this time,

 therefore, the Court DENIES the motion in limine.

                                  B. Defendant’s Motions in Limine

             1. Motion to Prohibit Plaintiff from Offering Non-Expert Medical Opinions

        Defendants ask the Court to preclude Plaintiff or any other lay witnesses from offering

 medical opinions that they are not qualified to offer. (Doc. 276-3.) Federal Rule of Evidence

 701(c) limits “testimony in the form of an opinion” to one that is “not based on scientific,

 technical, or other specialized knowledge.” As such, Plaintiff, who is not a medical doctor, is

 not competent to offer medical opinions. Because the factual allegations in the complaint have

 been deemed admitted, however, the Court finds this issue moot as to much of the evidence



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  Presuming Defendants can satisfy Rule 609(a), Plaintiff’s criminal conviction cannot be
 excluded under Rule 609(b) because fewer than ten years have passed since his release from
 confinement.
                                                   7
Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 8 of 10 PAGEID #: 2571




 Defendant seeks to prohibit. To the extent Defendant seeks to preclude this testimony as it goes

 to an assessment of damages, the Court also declines to grant the motion. To be sure, Plaintiff is

 competent to testify about some of his symptoms and treatment and, as a lay witness, is not

 competent to testify about other matters relating to his diagnosis and treatment. But the Court

 finds that the scope of this testimony will be more appropriately resolved on a case-by-case basis

 at trial upon objection by Defendants. Defendants’ motion is DENIED.

       2. Motion to Prohibit Plaintiff from Failing to Prove all the Elements of his 42 U.S.C. §
                                              1983 Action

        This motion in limine, though awkwardly phrased, essentially asks the Court to rule that

 Dr. Gonzales was not acting “under color of law” when she denied Neurontin to Plaintiff while

 acting as a prison doctor because she was not a state employee but rather an employee of an

 entity that contracted with the Ohio Department of Rehabilitation and Correction (“ODRC”).

 (Doc. 276-4.) It does not ask the Court to rule on the admissibility of any evidence and therefore

 is not, in fact, a motion in limine. Regardless, Defendants’ legal argument has no merit. Both

 the Supreme Court and the Sixth Circuit have held that a “physician who contracts to provide

 medical services to prison inmates . . . acts under color of state law for purposes of § 1983.”

 McCullum v. Tepe, 693 F.3d 696, 700 (6th Cir. 2012) (citing West v. Atkins, 487 U.S. 42, 54

 (1988)). And contrary to Defendants’ argument, it is immaterial whether the doctor herself

 contracted with ODRC or whether her employer contracted with the prison. See West, 487 U.S.

 at 55-56 (“It is the physician’s function within the state system, not the precise terms of his

 employment, that determines whether his actions can fairly be attributed to the State.”).

 Moreover, the Court has already rejected Defendants’ argument on this issue. Therefore,

 Defendants’ motion is DENIED.




                                                   8
Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 9 of 10 PAGEID #: 2572




       3. Motion to Prohibit Plaintiff from Equating his Deliberate Indifference Claim to that of
                                           Medical Malpractice

         Defendants next ask the Court to prohibit Plaintiff “from disturbing th[e] holding” that

 there is a “distinction between deliberate indifference and a negligent medical malpractice” cause

 of action. Plaintiff’s counsel respond that they do not understand exactly what Defendants’

 motion requests but that they do not plan to tell the jury that “malpractice and Section 1983

 Eighth Amendment claims are the same thing.” (Doc. 280 at 1.)

         It is unnecessary and inefficient for a party to file a motion in limine asking the Court not

 to disturb a previous holding. The Court is aware of the elements of an Eighth Amendment

 deliberate-indifference claim and sees no compelling reason to grant a motion in limine that

 concerns not an evidentiary issue but a statement of law on which the parties do not even

 disagree. Consequently, Defendants’ motion is DENIED.

                                         IV.     CONCLUSION

         For the reasons stated above, Plaintiff’s motion in limine to: 1) prevent Defendants from

 offering improper testimony from various physicians is GRANTED; (2) prevent Defendants

 from offering testimony related to administrative exhaustion is GRANTED; (3) prevent

 Defendant from offering evidence related to Plaintiff’s post-release medical treatment is HELD

 IN ABEYANCE; and (4) prevent Defendants from offering evidence or argument regarding the

 crime for which Plaintiff was incarcerated is DENIED. (Doc. 273.)

         Defendants’ motion in limine to: (1) prohibit Plaintiff from failing to prove all the

 elements of his 42 U.S.C. § 1983 action is DENIED (Doc. 276-4); (2) prohibit Plaintiff from

 offering non-expert medical opinions is DENIED (Doc. 276-3); and (3) prohibit Plaintiff from

 equating his deliberate indifference claim to that of medical malpractice is DENIED. (Doc. 276-

 5.)

                                                   9
Case: 2:08-cv-00580-ALM-KAJ Doc #: 297 Filed: 09/02/16 Page: 10 of 10 PAGEID #: 2573




       IT IS SO ORDERED.

                                               s/ Algenon L. Marbley
                                             ALGENON L. MARBLEY
                                             UNITED STATES DISTRICT JUDGE
 DATED: September 2, 2016




                                        10
